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               EXHIBIT +
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Cc: Liolos, John (CRM) <John.Liolos@usdoj.gov>; Cornwell, Hunter (CRM) <Hunter.Cornwell@usdoj.gov>
Subject: [WARNING: MESSAGE ENCRYPTED][WARNING: UNSCANNABLE EXTRACTION FAILED]Re: Discord

Attached is the subscriber data we received from Discord as well as the PDF with links to download.

From: Armstrong, Scott (CRM) <Scott.Armstrong@usdoj.gov>
Sent: Friday, October 7, 2022 8:11 AM
To: Varani, Joe (CRM) <Joe.Varani@usdoj.gov>
Cc: Hale, Jeremy S. (HO) (FBI) <jshale@fbi.gov>; Liolos, John (CRM) <John.Liolos@usdoj.gov>
Subject: [EXTERNAL EMAIL] - Discord

Hi, Joe,

When you have a free moment, can you please coordinate with SA Hale to obtain the link from Discord for the search-
warrant return in the pump and dump case? SA just received it. We would appreciate it if you all could assist in
processing this voluminous data, just like the Twitter return.

Thanks a lot and please call me if you have any questions. Really appreciate all your help.

Scott

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Scott Armstrong
DOJ Fraud Section
202-355-5704
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